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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION


      UNITED STATES OF AMERICA,                      :        CASE NO. 1:20-CR-77
                                                     :
                                 Plaintiff,          :        JUDGE TIMOTHY S. BLACK
                                                     :
           v.                                        :        HEARING REQUESTED
                                                     :
                                                     :        UNITED STATES’
      LARRY HOUSEHOLDER, ET AL.,                     :        MOTION TO AMEND CONDITIONS
                                                     :        OF BOND
                                 Defendants.         :
                                                     :


       The United States respectfully moves the Court to modify the conditions of Defendant Matthew

Borges’s bond. The reasons for this motion are set forth in the following memorandum.



                                                         Respectfully submitted,

                                                         KENNETH L. PARKER
                                                         United States Attorney


                                                         s/Matthew C. Singer
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                                   MEMORANDUM OF LAW

         On July 21, 2020, Defendant Matthew Borges appeared before Magistrate Judge Bowman

on a criminal complaint charging him with conspiracy to commit racketeering. (Doc. 5, redacted

complaint; Doc. 7, minute entry for initial appearance.) The Court ordered him released subject to

certain conditions. (Doc. 9, order setting conditions of release.) 1 Borges was subsequently indicted

for the same offense. (Doc. 22, indictment.)

         The Indictment alleges, in relevant part, that Borges offered a bribe to CHS-1—an

employee and agent of the Ballot Campaign (as defined in the Indictment)—for inside information

about the Ballot Campaign to further the efforts of the racketeering enterprise. (Id. ¶ 126.)

According to the Indictment, rather than accept the bribe, CHS-1 contacted the FBI and began

working at the FBI’s direction, recording conversations with Borges and accepting $15,000 from

Borges in return for information that would harm the Ballot Campaign’s efforts and further the

enterprise. (Id. ¶¶ 29, 127; see also Doc. 5, ¶¶ 218–20.) CHS-1 will likely testify as a witness in

the trial of this matter.

         On June 17, 2022, FBI Special Agent Blaine Wetzel became aware of a website Borges

launched related to this case. Through the website, Borges seeks to raise money for his legal

defense fund and publicly contest the government’s allegations against him. One portion of the

website features the name and photograph of CHS-1 and the names and photographs of individuals

involved in the prosecution of this case, and labels them “lying liars.”

         On June 21, 2022, the Cleveland Plain Dealer ran an article about Borges’s website. That

same day, Special Agent Wetzel learned that the website included a live hyperlink titled “[CHS-

1] Employment File,” without any context as to why information in the link was relevant to



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Borges’s website. (See Exhibit A at 1–2.) 2 When Special Agent Wetzel clicked on the hyperlink,

he could view CHS-1’s employment file from the Franklin County Auditor’s Office, where CHS-

1 had worked from 2011 to 2013. The employment file of CHS-1 contained unredacted copies of

his W-4 and I-9 tax forms and photocopies of his social security card and driver’s license; CHS-

1’s social security number was listed multiple times throughout the file. (See, e.g., id. at 5, 33, 43,

47, 48, 67, 68, 69, 71, 72, 73, 74, 75).

        Borges’s website made all of these documents publicly accessible. As a result, anyone

visiting the site could obtain CHS-1’s social security number, driver’s license number, birth date,

address, and other personal identifying information. Based on the government’s understanding,

following action taken by a third party on behalf of CHS-1, the link to the employment file was

removed from the website. 3

        Borges’s public posting of 2011 employment documents containing CHS-1’s personal

identifying information was an attempt to intimidate and retaliate against CHS-1. Such information

has “virtually no non-criminal use[]”; by posting it, the defendant deliberately exposed CHS-1 to

crimes like identity fraud. See Eugene Volokh, Crime–Facilitating Speech, 57 STAN. L. REV.

1095, 1146–47 (2005) (observing that speech revealing social security numbers “are likely to have

virtually no noncriminal uses”); see also, e.g., Fed. R. Crim. Proc. 49.1 (requiring redaction of

certain information that is publicly filed, including social security numbers and taxpayer

identification numbers, unless filed under seal).




2
  Exhibit A contains screenshots of the website’s pages that linked to the employment file and the
employment file documents that were contained on the website. Exhibit A is filed under seal
because it contains sensitive personal information, as described below.
3
  It is the government’s understanding that the defendant obtained CHS-1’s employment file from
the Franklin County Auditor’s Office through a request made by the defendant’s attorney.
                                                    3
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       Pursuant to 18 U.S.C. § 3145(a)(1), the United States respectfully moves the Court to

modify the defendant’s conditions of bond to reduce the risk that the defendant will again attempt

to intimidate CHS-1, including by taking actions that expose CHS-1 to financial harm. See United

States v. Reynolds, 956 F.2d 192, 192-93 (9th Cir. 1992) (“pecuniary or economic harm” may be

considered in assessing the defendant’s danger to the community); United States v. Madoff, 586

F.Supp.2d 240, 252 (S.D.N.Y. 2009) (citing cases and “conclud[ing] there is support for

considering economic harm in evaluating danger to the community under § 3142 of the Bail

Reform Act”). At a minimum, the United States requests that the Court amend the defendant’s

conditions of release to prohibit him from posting or otherwise disseminating the sensitive personal

identifying information of CHS-1 noted above. See, e.g., Volokh, Crime–Facilitating Speech, 57

STAN. L. REV. at 1099, 1146–47 (explaining that “[r]estricting the publication of full social

security numbers . . . will not materially interfere with valuable speech” and listing “a website

[that] posts people’s social security numbers” as speech “that makes it easier for people to commit

crimes, torts, or other harms”).

                                         CONCLUSION

       For these reasons, the United States respectfully requests that the Court amend the

defendant’s conditions of release as set forth above.




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                                                    Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Motion was served electronically upon all

counsel of record.


                                                    s/ Matthew C. Singer
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